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                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF IDAHO

PAM POE, by and through her parents and
next friends, Penny and Peter Poe, et al.                 Case No. 1:23-cv-00269-BLW
                                           Plaintiffs,
                                                         MEMORANDUM IN
        v.                                               SUPPORT OF EMERGENCY
                                                         MOTION FOR STAY OF
 RAÚL LABRADOR, in his official capacity as              INJUNCTION PENDING
 Attorney General of the State of Idaho, et al.          APPEAL
                                         Defendants.




                             MEMORANDUM IN SUPPORT OF EMERGENCY MOTION FOR
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                                      Introduction

      On December 26, 2023, this Court dismissed the individual members of the

Idaho Code Commission from this lawsuit. Dkt. 78. The Court denied the Attorney

General’s Motion to Dismiss, denied Ada County Prosecuting Attorney Jan Bennetts’s

Motion to Dismiss, and granted the Plaintiffs’ Motion for Preliminary Injunction pro-

hibiting the Attorney General and Prosecutor Bennetts from enforcing the provisions

of House Bill 71. See generally id. Among other reasons, the Attorney General opposed

the Motion for Preliminary Injunction, and asked the Court to grant his Motion to

Dismiss, because the Eleventh Amendment to the U.S. Constitution grants the Attor-

ney General immunity from suit. Dkt. 56 at 11.

      On January 3, 2024, the Attorney General filed a notice of appeal, appealing the

Court’s decision granting the preliminary injunction and appealing the Court’s decision

finding that the Attorney General is not immune from suit under the Eleventh Amend-

ment. The appeal of the Court’s decision regarding the Eleventh Amendment immun-

ity issue divests this Court of authority to conduct further proceedings. See Chuman v.

Wright, 960 F.2d 104, 105 (9th Cir. 1992); Christian v. Commonwealth of the N. Mariana

Islands, No. 1:14-CV-00010, 2016 WL 406340, at *2 (D.N. Mar. Is. 2016) (holding that

when a state “files its interlocutory appeal” of a decision denying Eleventh Amendment

Immunity, “that action ‘divests the district court of jurisdiction to proceed with trial.’”

(quoting Chuman v. Wright, 960 F.2d 104, 105 (9th Cir. 1992)).


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       The Attorney General now requests that the Court stay its decision granting the

Motion for Preliminary Injunction pending his appeal of the Court’s decisions. Even

though the appeal of the Eleventh Amendment immunity issue divests the Court of

authority to conduct further proceedings, the Court retains the authority to rule on the

Attorney General’s Motion to Stay the Injunction Pending Appeal. F.R.C.P. 62(d).

                                       ARGUMENT
       In determining whether to grant a stay to an order granting a preliminary injunc-

tion, courts consider four factors: “(1) whether the stay applicant has made a strong

showing that he is likely to succeed on the merits; (2) whether the applicant will be

irreparably injured absent a stay; (3) whether issuance of the stay will substantially injure

the other parties interested in the proceeding; and (4) where the public interest lies.”

Nken v. Holder, 556 U.S. 418, 434 (2009) (citing Hilton v. Braunskill, 481 U.S. 770, 776

(1987)). When the government is a party, the last two factors merge. Drakes Bay Oyster

Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014) (citing Nken, 556 U.S. at 435).

       I.   The Attorney General is Likely to Succeed on the Merits of the Ap-
            peal.
            A.The Court erred by determining that the Ex Parte Young excep-
                tion to Eleventh Amendment Immunity applies.
       The Attorney General is likely to succeed on the merits of his Eleventh Amend-

ment Immunity argument. The U.S. Supreme Court has made it clear that, under the

Eleventh Amendment, the Attorney General is immune from suit before the federal



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courts, which are, of course, courts of limited jurisdiction, unless specific circumstances

are present:

       In making an officer of the state a party defendant in a suit to enjoin the enforce-
       ment of an act alleged to be unconstitutional, it is plain that such officer must
       have some connection with the enforcement of the act, or else it is merely making
       him a party as a representative of the state, and thereby attempting to make the
       state a party.
Ex Parte Young, 209 U.S. 123, 157 (1908).

       Thus, the U.S. Supreme Court warned against exactly what the Plaintiffs are do-

ing in this case—suing the Attorney General “as a representative of the state [of Idaho],

and thereby attempting to make the state a party.” Id. To sue the State of Idaho, the

Plaintiffs must sue the State of Idaho in the courts of the State of Idaho, not the federal

court. Cf. Planned Parenthood Great NW v. Idaho, 171 Idaho 374, 400, 522 P.3d 1132, 1158

(Idaho 2023) (“It is neither procedurally improper nor unusual to name the State of

Idaho as a party in a case seeking declaratory relief when a constitutional violation is

alleged.”).

       To successfully defeat the Attorney General’s claim of immunity, the Plaintiffs

must show that the Attorney General’s connection to the enforcement of the statute is

“fairly direct; a generalized duty to enforce state law or general supervisory power over

the persons responsible for enforcing the challenged provision will not subject an offi-

cial to suit.” Los Angeles Cnty. Bar Ass’n v. Eu, 979 F.2d 697, 704 (9th Cir. 1992) (citations

omitted). In the instant case, the Attorney General’s authority to enforce the law is not

direct. Rather, the Attorney’s General’s authority to enforce the law is quite indirect,
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being contingent upon decisions made by independently elected government officials

and situations over which he has no control, which are not currently present, which

have not been pled by Plaintiffs, and which may never come into existence.

      The Attorney General only has the authority to enforce Idaho Code § 18-1506C

if a county prosecutor or Board of County Commissioners requests the assistance of

the Attorney General and the Attorney General is appointed by the district court to

assist with the prosecution. See Idaho Code §§ 31-2603; 67-1401(7); see also Att’y Gen.

Op. 23-1. While the Plaintiffs have pled that House Bill 71 grants the Attorney General

authority to enforce the act, Dkt. 1 at ¶ 8, the statute, which the Plaintiffs included as

part of their Complaint, does no such thing. Rather, the statute is silent on enforcement

authority, leaving enforcement of the act to the general criminal enforcement authority

contained in the Idaho Code. Thus, unless a prosecuting attorney requests the assis-

tance of the attorney general and unless an Idaho District Court signs an order granting

the Attorney General prosecutorial authority, the Attorney General has no authority to

prosecute violations of Idaho Code § 18-1506C.

      Where the Attorney General’s prosecutorial authority depends upon facts and

decisions made by independent government officials over whom he has no supervisory

authority, his authority to enforce the law is indirect and not sufficient to defeat Elev-

enth Amendment immunity.

      For the Plaintiffs to succeed in defeating the Attorney General’s claim of im-

munity, in addition to the direct connection from the Attorney General to the
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enforcement of the statute, there must also be a “real likelihood” that the Attorney

General will employ his authority “against plaintiffs’ interests,” otherwise “the Eleventh

Amendment bars federal court jurisdiction.” See Long v. Van de Kamp, 961 F.2d 151,

152 (9th Cir. 1992) (“Absent a real likelihood that the state official will employ his su-

pervisory powers against plaintiffs' interests, the Eleventh Amendment bars federal

court jurisdiction”). Given the lack of independent authority to prosecute violations of

the act, there is no “real likelihood” that the Attorney General will employ his authority

against the Plaintiffs’ interests, and therefore “the Eleventh Amendment bars federal

court jurisdiction.” Id.

       The Court, however, relied on Planned Parenthood v. Wasden, 376 F.3d 908 (9th Cir.

2004), in rejecting the Attorney General’s claim of immunity. See Dkt. 76 at 28. In

Wasden, the Ninth Circuit held that the direct connection required to meet the Ex parte

Young exception existed because “the attorney general may in effect deputize himself

… to stand in the role of a county prosecutor, and in that role exercise the same power

to enforce the statute the prosecutor would have. That power demonstrates the requi-

site causal connection for standing purposes.” Wasden, 376 F.3d at 920. However, as

made clear by the above discussion, the Attorney General has no authority to deputize

himself to prosecute violations of Idaho Code § 18-1506C.

       The Court also relied on State v. Summer, 76 P.3d 963 (Idaho 2003), as authority

to show that the Attorney General could deputize himself. However, in Summer, the

Attorney General had express statutory authority to criminally prosecute the insurance
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fraud statutes and the prosecuting attorney petitioned the district court for an order

appointing the Attorney General as a special deputy prosecutor, which the district court

granted. Id. at 967-68. Neither of those facts are present in the instant case.

       Further, in a case challenging a plaintiff’s standing 1 to sue the Attorney General

in a challenge to Idaho’s criminal abortion laws, the Ada County District Court held

that the Attorney General was not a proper defendant because “Attorney General Lab-

rador ha[s] merely secondary enforcement authority, exercisable if county prosecutors

fail or refuse to enforce criminal laws or need assistance in doing so.” Adkins v. Idaho,

CV01-23-14744, Mem. Decision and Order on Mot. to Dismiss at 11 (Idaho Fourth

Judicial Dist. Dec. 29, 2023). The court further stated that “Plaintiffs don’t allege that

county prosecutors are expected to either fail or refuse to enforce, or need assistance

in enforcing, Idaho’s Abortion Laws. Plaintiffs don’t make a case that … Attorney

General Labrador is likely to get involved in prosecuting violations of those laws.” Id.

Similarly, the Plaintiffs in the instant case fail to allege that any prosecuting attorney is

refusing to enforce the law or has requested assistance from the Attorney General in

enforcing the law.




1The Ninth Circuit has held that “The question of whether there is the requisite ‘con-
nection’ between the sued official and the challenged law” for Eleventh Amendment
immunity issues “implicates an analysis that is ‘closely related—indeed overlapping’—
with the traceability and redressability inquiry” of the standing analysis. Mecinas v.
Hobbs, 30 F.4th 890, 903 (9th Cir. 2022).
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       As discussed above, in order to prosecute violations, the Attorney General must

in essence be deputized by the county prosecutor pursuant to an order by an Idaho

court. Since there are no allegations that a county prosecutor intends to request the

assistance of the Attorney General or that an Idaho court will approve such a request,

the Attorney General does not have a direct connection to the enforcement of the law,

and the Ex Parte Young exception does not apply. As such, the Eleventh Amendment

provides immunity to the Attorney General, and he is likely to succeed on the merits of

his appeal. For the same reasons, the Plaintiffs have failed to show that they have

standing to sue the Attorney General. See Mecinas v. Hobbs, 30 F.4th 890, 903 (9th Cir.

2022) (“The question of whether there is the requisite ‘connection’ between the sued

official and the challenged law” for Eleventh Amendment immunity issues “implicates

an analysis that is ‘closely related—indeed overlapping’—with the traceability and re-

dressability inquiry” of the standing analysis).

           B. The Court erred in finding that the Plaintiffs are likely to succeed
               on the merits.
       The Court also erred in finding that the Plaintiffs are likely to succeed on the

merits of their Equal Protection and Due Process claims. By granting the preliminary

injunction, the Court ignored the U.S. Supreme Court’s reluctance to constitutionalize

areas in which “the States are currently engaged in serious, thoughtful examinations.”

Washington v. Glucksberg, 521 U.S. 702, 719 (1997). The Court in fact recognized “the

conflicting evidence regarding the risks and benefits associated with gender-affirming

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medical care.” Dkt. 78 at 39. But, instead of taking the step required by caselaw—

allowing the legislature to draw the policy line given the “conflicting evidence regarding

the risks and benefits”—the Court took it upon itself to declare state policy in this area

and erroneously “place[d] the matter outside the arena of public debate and legislative

action.” Glucksberg, 521 U.S. at 720; see also L.W. v. Skrmetti, 73 F.4th 408, 420 (6th Cir.

2023) (stating that “[e]ven when accompanied by judicial tiers of scrutiny, the U.S. Con-

stitution does not offer a principled way to judge each of these lines” and holding that

placing the matter beyond public debate by having the judiciary draw the lines “is not

how a constitutional democracy is supposed to work … when confronting evolving

social norms and innovative medical options”).

       Further, in deciding where to draw the line, the Court credited the opinions of

expert witnesses with a direct financial stake in ensuring the continued availability of

“gender affirming care,” as opposed to those expert witnesses with no direct financial

stake in the outcome of the litigation. The Court made it clear that it “gave particular

weight to plaintiffs’ experts on this issue, as Dr. Brady and Dr. Connelly currently treat

adolescents with gender dysphoria, while the defense experts do not.” Dkt. 78 at 38

n.5. Since they treat minor patients with gender dysphoria, these experts have a direct

financial stake in ensuring the continued availability of “gender affirming care” and in

obtaining court rulings supporting their practice, even though they may not practice in

Idaho. After all, if this type of treatment is outlawed, these experts would no longer be

able to conduct those procedures, and no longer be able to obtain the significant
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financial benefits associated with providing such treatment. “Numerous courts have

found” that “a direct financial interest in the outcome of the litigation” is at least “un-

ethical” and may be a proper basis of excluding an expert. In re Rail Freight Fuel Surcharge

Antitrust Litig., 292 F.Supp.3d 14, 47 (D.D.C. 2017) (collecting cases concerning con-

tingency fee experts). Plaintiffs’ experts have just such an incentive.

       “While experts are almost universally compensated for their opinion, public pol-

icy has long made a distinction between paid experts who have an indirect incentive to win

the approval of their employers (the client and attorneys) on the one hand, and experts

who have a direct financial stake in the outcome of the litigation on the other.” Perfect 10,

Inc. v. Giganews, Inc., No. CV 11-07098-AB (SHX), 2014 WL 10894452, at *4 (C.D. Cal.

Oct. 31, 2014) (emphasis in original). While “[p]ublic policy tolerates the former cate-

gory of expert testimony as a necessary evil,” “courts of this country draw a line where

the expert’s incentive structure crosses the threshold from an indirect incentive to reach a

certain conclusion to a direct financial interest in doing so.” Id. (emphasis in original); see

also In re Plant Insulation Co., 544 Fed.Appx. 669, 671 (9th Cir. 2013) (mem. decision)

(noting that financial conflicts belong in category of “evidence of bias go[ing] toward

the credibility of a witness,” not admissibility) (quoting United States v. Abonce-Barrera,

257 F.3d 959, 965 (9th Cir. 2001). In the instant case, the plaintiffs’ expert witnesses,

given their practices in providing “gender affirming care,” have a direct financial interest

in opining that “gender affirming care” is necessary, safe, and effective.


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       Where an expert has that type of direct financial incentive, “any semblance of

independence or promise of intellectual rigor that normally adheres to an expert witness

is fatally wounded.” Wheatridge Office, LLC v. Auto-Owners Ins. Co., 578 F.Supp.3d 1187

at 1210 (D. Colo. 2022) (quoting id.). The “financial interest in the outcome of the case

that creates the conflict of interest—it is no better or different than a case in which an

attorney offered him a contingent fee for his testimony because the financial incentive

is the same.” Id. at 1211 (citing Perfect 10 at *4). “The trier of fact should be able to

discount for so obvious a conflict of interest,” but the Court did not do so here. Tagatz

v. Marquette Univ., 861 F.2d 1040, 1042 (7th Cir. 1988) (case of plaintiff as expert). Thus,

the Court erred in relying on the plaintiffs’ experts who have a direct financial interest

in being able to continue to perform the treatments that Idaho has outlawed.

       II. The Attorney General will be irreparably injured absent a stay of
           the injunction.

       The second factor for the Court to consider in determining whether to grant a

stay of the injunction pending appeal is whether the Attorney General will be irreparably

injured without a stay of the Court’s decision. “The very object and purpose of the 11th

Amendment were to prevent the indignity of subjecting a State to the coercive process

of judicial tribunals at the instance of private parties.” Puerto Rico Aqueduct & Sewer Auth.

v. Metcalf & Eddy, Inc., 506 U.S. 139, 146 (1993) (quoting In re Ayers, 123 U.S. 443, 505

(1887)).



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       As for the Attorney General, this is exactly what has happened. The Court has

abrogated the Attorney General’s Eleventh Amendment Immunity in a situation in

which the Attorney General himself has said he has no authority to prosecute the statute

in question, subjecting the State of Idaho, through the Attorney General, “to the coer-

cive process of judicial tribunals at the instance of private parties.” Id. Thus, the mere

existence of the preliminary injunction against the Attorney General is an irreparable

injury that can only be repaired by the Court granting the stay of its injunction pending

the appeal.

       The Court found in its order that State v. Summer, 76 P.3d 963 (Idaho 2003),

supports its conclusion that because the Attorney General can in assisting a county prose-

cutor “do every act” that the county prosecutor can, the Attorney General can file an

initial charge. Dkt 78 at 28. But, as mentioned above, in Summer the Attorney General

had direct legislative authority to prosecute the crimes and the state district court, at the

request of the prosecuting attorney, subsequently appointed the deputy attorney general

as a special prosecuting attorney, curing any potential defect in the presentation of the

indictment. Summer, 76 P.3d at 967-68. This case does not support the principle that,

in the absence of a county prosecutor’s involvement, the Attorney General can bring

an action.

       Further, any “‘time a State is enjoined by a court from effectuating statutes en-

acted by representatives of its people, it suffers a form of irreparable injury.’” Maryland

v. King, 567 U.S. 1301, 1303 (2012) (alterations in original) (quoting New Motor Vehicle
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Bd. of Cal. v. Orrin W. Fox Co., 434 U.S. 1345, 1351 (1977) (Rehnquist, J., in chambers)).

The Court’s order prevents an agent of the State of Idaho from enforcing the demo-

cratically enacted laws enacted by the legislature and works a second irreparable injury

upon the State. Both injuries warrant a stay.

       III. The issuance of the stay will not injure the Plaintiffs, and the
            public interest lies in granting the stay.

       The last two factors for the Court to consider are whether issuance of the stay

will substantially injure the other parties interested in the proceeding and where the

public interest lies. Nken, 556 U.S. at 434 (citation omitted). As stated above, when the

government is a party, the last two factors merge. Drakes Bay, 747 F.3d at 1092 (citation

omitted). In the instant case, the Plaintiffs will not be injured by granting the stay of the

injunction pending appeal. Plaintiffs do not have Equal Protection and Due Process

rights to medical procedures, including ones of contested efficacy, that are traditionally

the province of state regulation, and therefore will suffer no constitutionally cognizable

injury. NAAP v. Calif. Bd. of Psychology, 228 F.3d 1043, 1050 (9th Cir. 2000); accord Judge

Rotenberg Educ. Ctr., Inc. v. FDA., 3 F.4th 390, 400 (D.C. Cir. 2021) (states traditionally

regulate practice of medicine including “[c]hoosing what treatments are or are not ap-

propriate for a particular condition”). In this area of traditional state regulation, the only

body with line-drawing power to determine whether a treatment is “safe, effective, and

medically necessary” for a given condition is the legislature. Plaintiffs will not be harmed

because they have no right to a specific treatment.

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        By contrast, the public interest lies with the State’s prerogative in “ensuring the

quality of health care within the state.” Mir v. Kirchmeyer, 2017 WL 4271892 (S.D. Cal.

2017) (citing Olsen v. Idaho St. Bd. of Medicine, 363 F.3d 916, 924 (9th Cir. 2004)). Staying

the injunction allows the State legislature to exercise its judgment as to what medical

treatment is safe and appropriate for minors suffering from gender dysphoria, a core

state police power. See e.g. Pickup v. Brown, 740 F.3d 1208, 1236 (9th Cir. 2014) (parental

right to raise children did not include substantive due process right to choose medical

treatments “reasonably . . . deemed harmful by the state.”) (abrogated on other grounds

by NIFLA v. Becerra, 585 U.S. ___, 138 S.Ct. 2361, 2372 (2018)); see also Tingley v. Fergu-

son, 47 F.4th 1055, 1080 (9th Cir. 2022) (collecting cases as to medical licensure). It was

the legislature’s role to weigh conflicting evidence, see Dkt. 78 at 39, and draw conclu-

sions as to what treatment is appropriate or not appropriate for gender dysphoria, and

staying the judgment furthers the public interest in ensuring the safe practice of medi-

cine in Idaho.

                                      CONCLUSION
        The Court should stay its injunction pending conclusion of the appeal in this

case.




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      DATED: January 3, 2024.

                                       STATE OF IDAHO
                                       OFFICE OF THE ATTORNEY GENERAL

                                            By:    /s/ James E. M. Craig
                                                   JAMES E. M. CRAIG
                                                   Chief, Civil Litigation and
                                                   Constitutional Defense
                                                   JOSHUA N. TURNER
                                                   Acting Solicitor General
                                                   RAFAEL DROZ
                                                   Deputy Attorney General




                            CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on January 3, 2024, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which caused the same to be
served by electronic service upon all counsel of record.


                                                  /s/ James E. M. Craig
                                                  JAMES E. M. CRAIG
                                                  Chief, Civil Litigation and
                                                  Constitutional Defense




                           MEMORANDUM IN SUPPORT OF EMERGENCY MOTION FOR
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